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                                                 #:4636




                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                                              CASE NUMBER:

 JACQUELYN JACKIE LACEY
                                                                  2:24−cv−05205−FMO−MAA
                                             PLAINTIFF(S)

       v.
 STATE FARM GENERAL INSURANCE
 COMPANY , et al.
                                                               ORDER TO STRIKE ELECTRONICALLY FILED
                                                                           DOCUMENT(S)
                                          DEFENDANT(S).




 The Court hereby ORDERS the documents listed below be STRICKEN for failure to comply
 with the Court’s Local Rules, General Orders, and/or Case Management Order, as indicated:
    5/9/2025                   /               120                       /               Motion
   Date Filed                                 Doc. No.                                  Title of Document
                               /                                         /
   Date Filed                                 Doc. No.                                  Title of Document
 Hearing information is missing, incorrect, or not timely.




 Other:




 Dated: May 12, 2025                                         By: /s/ Fernando M. Olguin
                                                                 U.S. District Judge

      Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




 G−106 (6/12)          ORDER TO STRIKE ELECTRONICALLY FILED DOCUMENT(S)
